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                                UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

In re                                              Case No. 20-32485-pcm11

BLUE STAR DOUGHNUTS LLC,                           Chapter 11
DBA BLUE STAR DONUTS,
                                                   MOTION TO REOPEN CHAPTER 11
                       Debtor.                     CASE



         Blue Star Doughnuts LLC, dba Blue Star Donuts (“Reorganized Debtor” or “Debtor”)

hereby moves this Court (“Motion”) for entry of an order to reopen the above-captioned chapter

11 case (“Case”) pursuant to section 350(b) of title 11 of the United States Code (“Bankruptcy

Code”), Rule 5010 of the Federal Rule of Bankruptcy Procedure (“Bankruptcy Rules”), and

Local Bankruptcy Rule 5010-1, and respectfully states as follows:

                                       I. RELIEF REQUESTED

         1.        The Motion seeks entry of an order reopening the Case.

         2.        Section 350(b) of the Bankruptcy Code provides that “[a] case may be reopened

in the court in which such case was closed to administer assets, to accord relief to the debtor, or

for other cause.”




  Page 1      - MOTION FOR ORDER TO REOPEN CHAPTER 11 CASE


110218623.3 0056668- 00010
                             Case 20-32485-pcm11   Doc 186      Filed 03/22/21
         3.        Bankruptcy Rule 5010 provides that “[a] case may be reopened on the motion of

the debtor or other party in interest pursuant to § 350(b) of the Code.”

         4.        Entry of an order reopening the case is necessary (i) to allow the Reorganized

Debtor to enforce the Confirmation Order (defined below) against Morrison Development, LLC

(“Morrison”), and (ii) to allow Micah Camden (“Camden”), a member of the Debtor, to defend

the claims brought against him by Morrison in state court that are related to this Case before this

Court for adjudication.

                                   II. JURISDICTION AND VENUE

         5.        The Court has jurisdiction over this matter pursuant to sections 157 and 1334 of

title 28 of the United States Code (“Judicial Code”).

         6.        Venue is proper in this district pursuant to sections 1408 and 1409 of the Judicial

Code.

                                       III. RELEVANT FACTS

         7.        On June 5, 2020, Morrison filed a complaint against the Debtor in the Circuit

Court for the County of Multnomah, State of Oregon, Case No. 20CV19836 (“Blue Star State

Court Proceeding”).

         8.        On August 26, 2020 (“Petition Date”), the Debtor filed its voluntary petition for

relief under subchapter V of chapter 11 of the Bankruptcy Code. [Dkt. No. 1]

         9.        On November 22, 2020, the Debtor filed Blue Star Doughnuts LLC’s Second

Amended Chapter 11 Plan of Reorganization dated November 22, 2020 (“Plan”). [Dkt. No. 163]

         10.       On November 24, 2020, the court entered the Order Confirming Debtor’s Second

Amended Chapter 11 Plan of Reorganization (“Confirmation Order”). [Dkt. No. 170]




  Page 2       - MOTION FOR ORDER TO REOPEN CHAPTER 11 CASE


110218623.3 0056668- 00010
                             Case 20-32485-pcm11     Doc 186      Filed 03/22/21
         11.       On January 19, 2021, the Blue Star State Court Proceeding was dismissed with

prejudice pursuant to a stipulated judgment between the Reorganized Debtor and Morrison, as

directed under section 6.3 of the confirmed Plan (“Stipulated Dismissal”).

         12.       On February 4, 2021, the Court entered a Final Decree closing the Case (“Final

Decree”). [Dkt. No. 184]

         13.       On February 5, 2021, one day following the entry of the Final Decree, Morrison

filed a complaint against Camden in the Circuit Court for the County of Multnomah, State of

Oregon, Case No. 21CV04369 (“Camden State Court Proceeding”).

         14.       The Debtor’s address is unchanged and is reflected on the court record.

                                 IV. BASIS FOR RELIEF REQUESTED

         15.       The claims Morrison asserted against the Debtor in the Blue Star State Court

Proceeding were fully released and extinguished through the confirmed Plan and the Stipulated

Dismissal (“Released Claims”). See Plan, §§ 6.3.3, 6.3.4.

         16.       In the Camden State Court Proceeding, Morrison asserts claims against Camden

under Oregon state law that are wholly derivative of the Released Claims.

         17.       By filing the Camden State Court Proceeding, Morrison has and continues to

openly defy the discharge injunction in the confirmed Plan and the Confirmation Order entered

by this Court. Plan, § 11.2.

         18.       When a debtor seeks to enforce a discharge injunction, “cause exists to reopen his

bankruptcy case.” In re Grihalva, No. 11-26893, 2013 Bankr. LEXIS 4057, at *11 (Bankr. D.

Nev. Sep. 3, 2013).

         19.       Moreover, a bankruptcy court’s decision to reopen is “entirely within its sound

discretion, based on the circumstances of each case.” Curry v. Castillo (In re Castillo), 297 F.3d


  Page 3       - MOTION FOR ORDER TO REOPEN CHAPTER 11 CASE


110218623.3 0056668- 00010
                             Case 20-32485-pcm11    Doc 186      Filed 03/22/21
940, 945 (9th Cir. 2002) (quoting Elias v. Lisowski Law Firm, CHTD,(In re Elias), 215 B.R. 600,

604 (B.A.P. 9th Cir. 1997); internal quotation marks and additional citations omitted).

         20.       A copy of the Debtor’s proposed order is attached hereto as Exhibit A.

                                          V. CONCLUSION

         WHEREFORE, as sufficient cause exists under the circumstances, the Debtor

respectfully requests that the case be reopened.



           DATED: March 22, 2021.
                                                STOEL RIVES LLP



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  Page 4       - MOTION FOR ORDER TO REOPEN CHAPTER 11 CASE


110218623.3 0056668- 00010
                             Case 20-32485-pcm11    Doc 186     Filed 03/22/21
                                      Exhibit A




110218623.3 0056668- 00010
                             Case 20-32485-pcm11   Doc 186   Filed 03/22/21
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                                    FOR THE DISTRICT OF OREGON

In re                                              Case No. 20-32485-pcm11

BLUE STAR DOUGHNUTS LLC,                           Chapter 11
DBA BLUE STAR DONUTS,
                                                   ORDER TO REOPEN CHAPTER 11
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         THIS MATTER having come before the Court on Reorganized Debtor’s Motion for

Order to Reopen Chapter 11 Case [Dkt. No. ●] (“Motion”), and the Court having duly

considered the matter and finding good cause; NOW, THEREFORE,

         IT IS HEREBY ORDERED as follows:

         The Motion is GRANTED and the above-captioned bankruptcy case is reopened.




  Page 1      - ORDER TO REOPEN CHAPTER 11 CASE

Exhibit A - Page 1 of 2
110218623.3 0056668- 00010
                             Case 20-32485-pcm11   Doc 186      Filed 03/22/21
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I certify that I have complied with LBR 9021-1.

Presented by:

______________________________
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  Page 2      - ORDER TO REOPEN CHAPTER 11 CASE

Exhibit A - Page 2 of 2
110218623.3 0056668- 00010
                             Case 20-32485-pcm11    Doc 186   Filed 03/22/21
